     Case 22-14366       Doc 14     Filed 12/23/22 Entered 12/23/22 10:47:38              Desc Main
                                      Document     Page 1 of 6

                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 IN RE:                                                         Case No: 22-14366

 SALVADOR S DUQUE, MARTHA YOLANDA DUQUE,                        Chapter 7

                                                                Judge: Timothy A Barnes

                                                   Debtor(s).

                                       NOTICE OF MOTION

TO: See attached list

       PLEASE TAKE NOTICE that on 01/11/2023 at 9:00 a.m., I will appear before the Honorable
Timothy A Barnes, or any judge sitting in that judge’s place, either in courtroom 744 of the Everett
McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago, IL 60604, or
electronically as described below, and present a Motion for Relief from Stay, a copy of which is
attached.

      All parties in interest, including the movant, may appear for the presentment of the
motion either in person or electronically using Zoom for Government.

       You may appear electronically by video or by telephone.

      To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID and
password.

      To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666.
Then enter the meeting ID and password.

       Meeting ID and password. The meeting ID for this hearing is 161 329 5276 and the password
is 433658. The meeting ID and password can also be found on the judge’s page on the court’s web site.

         If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection is
timely filed, the motion will be called on the presentment date. If no Notice of Objection is timely
filed, the court may grant the motion in advance without a hearing.

                                              By: _/s/_________________________
                                                        Susan Notarius
                                              Susan Notarius, ARDC # 6209646
                                              Counsel for Movant
Kluever Law Group, LLC
225 West Washington Street Suite 1550
Chicago, IL 60606
312-236-0077
     Case 22-14366       Doc 14     Filed 12/23/22 Entered 12/23/22 10:47:38           Desc Main
                                      Document     Page 2 of 6

                                   CERTIFICATE OF SERVICE

         I, Joe Miera, declare under penalty of perjury under the laws of the United States of America
that I served a copy of this notice and the attached motion on the Trustee and via the Court’s ECF
electronic notice on December 23, 2022 and to the debtor by causing same to be mailed in a properly
addressed envelope, postage prepaid, from 9620 Ridgehaven Court, Suite A, San Diego, CA 92123
before the hour of 5:00 PM on December 23, 2022.


                                                  A non-attorney




Kluever Law Group, LLC
225 West Washington Street Suite 1550
Chicago, IL 60606
312-236-0077
    Case 22-14366         Doc 14   Filed 12/23/22 Entered 12/23/22 10:47:38   Desc Main
                                     Document     Page 3 of 6

                                         SERVICE LIST
Salvador S Duque
7147 S Francisco Av. #1
Chicago, IL 60629

Martha Yolanda Duque
7147 S Francisco Av. #1
Chicago, IL 60629

Ariane Holtschlag
FactorLaw
105 W. Madison Suite 1500
Chicago, IL 60602
  Case 22-14366         Doc 14     Filed 12/23/22 Entered 12/23/22 10:47:38            Desc Main
                                     Document     Page 4 of 6



                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  IN RE:                                                           Case No: 22-14366

  SALVADOR S DUQUE, MARTHA YOLANDA DUQUE,                          Chapter 7

                                                                   Judge: Timothy A Barnes

                                                      Debtor(s).

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

          Wells Fargo Bank, NA, as Trustee, on behalf of the holders of Structured Asset Mortgage

Investments II, Inc., Bear Stearns Mortgage Funding, Trust 2007-AR4, Mortgage Pass Through

Certificates, Series 2007-AR4, (“Movant”) moves this Court, pursuant to 11 U.S.C. §362, for

relief from the automatic stay with respect to real property of the Debtors located at 4364 Lugo

Ave, Chino Hills, CA 91709 (the “Property”) and in support of this Motion, Movant respectfully

states:

          1.     Debtors filed a petition under Chapter 7 of the United States Bankruptcy Code on

December 13, 2022.

          2.     Debtor Salvador S. Duque executed the Promissory Note, (the “Note”) in the

original principal amount of $380,000.00. A copy of the Note is attached hereto.

          3.     Movant is a secured creditor as to the Property by virtue of the Note and a

properly perfected mortgage dated March 23, 2007, (the “Mortgage”). A copy of the Mortgage

and assignment is attached hereto.

          4.     Wells Fargo Bank, NA, as Trustee, on behalf of the holders of Structured Asset

Mortgage Investments II, Inc., Bear Stearns Mortgage Funding, Trust 2007-AR4, Mortgage Pass

Through Certificates, Series 2007-AR4 is an entity who has the right to foreclose the Mortgage.

          5.     Select Portfolio Servicing, Inc. services the loan on the Property.
  Case 22-14366       Doc 14     Filed 12/23/22 Entered 12/23/22 10:47:38            Desc Main
                                   Document     Page 5 of 6



         6.    The Mortgage payments are in default as follows:

     Number of         From                  To                Monthly Payment       Total Amounts
     Missed/Delinquent                                         Amount                Delinquent
     Payments

     1                     06/01/2022        06/01/2022        $1,796.43             $1,796.43
     6                     07/01/2022        12/01/2022        $1,831.46             $10,988.76
                                      Less partial payments:                         $0.00
                                                                 Total: $12,785.19

         7.    The estimated market value of the Property is $387,041.00. The basis for such

valuation is Schedule A.

         8.    The outstanding balance on Movant’s loan is $397,637.44 as of December 22,

2022.

         9.    Sufficient cause exists for this Court to grant Movant Relief from Stay.

         10.   Movant’s interest in the Property is not adequately protected because the value of

the property is less than the loan balance and the debt is not being serviced.

         11.   Movant’s interest will be irreparably harmed if the Stay continues in effect.

         WHEREFORE, Movant requests this Court enter an Order terminating or modifying the

stay as follows:

         A.    Relief from the Stay allowing Movant (and any successors or assigns) to proceed

under applicable non-bankruptcy law to enforce its remedies against the Property located at 4364

Lugo Ave, Chino Hills, CA 91709;

         B.    That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived or

deemed not applicable; and
  Case 22-14366       Doc 14     Filed 12/23/22 Entered 12/23/22 10:47:38       Desc Main
                                   Document     Page 6 of 6



       C.      For such other relief as the Court deems proper.



                                                           /s/ Susan Notarius
                                                     Susan Notarius,
                                                     ARDC # 6209646
                                                     Counsel for Movant



Kluever Law Group, LLC
225 West Washington Street Suite 1550
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Our File #: SPS001809-22BK1
